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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION



JEAN LESLY TOUZE,
      Plaintiff,

v.                                            CASE NO. 3:20cv5936-MCR-HTC

SERGEANT B CASH,
     Defendant.
________________________/

                                   ORDER

      The magistrate judge issued a Report and Recommendation on September 1,

2021, ECF No. 26, recommending that the case be dismissed under Federal Rule of

Civil Procedure 25(a)(1) because Plaintiff has died and no one has moved to be

substituted for him.   The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). There are no timely objections.

      Having considered the Report and Recommendation, and the record, I have

determined the Report and Recommendation should be adopted.

      Accordingly, it is ORDERED:

      1.    The magistrate judge’s Report and Recommendation, ECF No. 26, is

adopted and incorporated by reference in this Order.
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      2.    This matter is DISMISSED WITHOUT PREJUDICE under Federal

Rule of Civil Procedure 25(a)(1).

      3.    The clerk of court is directed to close this case.

      DONE AND ORDERED this 5th day of October 2021.




                                       s/M. Casey Rodgers
                                       M. CASEY RODGERS
                                       UNITED STATES DISTRICT JUDGE




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